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 1   KAMALA D. HARRIS
     Attorney General of California
 2   MARK BRECKLER
     Chief Assistant Attorney General
 3   KATHLEEN E. FOOTE
     Senior Assistant Attorney General
 4   State Bar No. 65819
     EMILIO VARANINI
 5   Deputy Attorney General
     State Bar No. 163952
 6    455 Golden Gate Avenue, Suite 11000
      San Francisco, CA 94102-7004
 7    Telephone: (415) 703-5908
      Fax: (415) 703-5480
 8    E-mail: Emilio.Varanini@doj.ca.gov
 9   Attorneys for the State of California et al.
10

11                                UNITED STATES DISTRICT COURT
12                             NORTHERN DISTRICT OF CALIFORNIA
13                                       SAN FRANCISCO DIVISION
14

15
     IN RE: CATHODE RAY TUBE (CRT)                         Master File No. 3:07-cv-05944-SC
16   ANTITRUST LITIGATION,
                                                           MDL No. 1917
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                                                           AMENDED NOTICE OF DEPOSITION
18   This Documents Relates To:                            OF LEO MINK
19   ALL ACTIONS
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                                   AMENDED Notice of Deposition of Leo Mink (Master File No. CV-07-5944-SC)
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 1          TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
 2          PLEASE TAKE NOTICE that pursuant to Rules 28, 30, and 45 of the Federal Rules of
 3   Civil Procedure and the Hague Convention, the Attorney General of California, Indirect
 4   Purchaser Plaintiffs, Direct Action Plaintiffs, and Direct Purchaser Plaintiffs (“Plaintiffs”) will
 5   take the deposition of LEO MINK. The deposition will take place, if permitted by the relevant
 6   authority in the Netherlands, on June 3-4, 2014, at 9:00 a.m. at De Brauw, Blackstone, Westbroek
 7   N.V., 1070 AB Amsterdam, Claude Debussylaan 80, The Netherlands. The deposition shall
 8   continue from day to day (including weekends) until recessed or completed.
 9          The deposition will be taken before a notary public or other person authorized to
10   administer oaths under applicable law if permitted by the relevant authority in the Netherlands,
11   and will be conducted pursuant to Rule 45 of the Federal Rules of Civil Procedure. Plaintiffs
12   intend and reserve the right to record the deposition testimony of the above-identified deponent
13   by videotape and instant visual display, in addition to recording the testimony stenographically
14   and LiveNote/realtime. Plaintiffs reserve the right to use the videotape deposition at time of trial.
15   Plaintiffs shall otherwise conduct the deposition in accordance with the procedures of the relevant
16   authority in the Netherlands.
17   Dated: March 26, 2014                                   Respectfully submitted,
18                                                            /s/ Emilio E. Varanini
19                                                           Emilio E. Varanini
                                                             OFFICE OF THE ATTORNEY GENERAL,
20                                                           STATE OF CALIFORNIA
                                                             455 Golden Gate Avenue
21                                                           San Francisco, CA 94102
                                                             Telephone: (415) 703-5908
22                                                           Facsimile: (415) 703-5480
                                                             emilio.varanini@doj.ca.gov
23
                                                             Attorney General for the State of California
24                                                           et al.
25                                                           Philip J. Iovieno
                                                             Anne M. Nardacci
26                                                           BOIES, SCHILLER & FLEXNER LLP
                                                             10 North Pearl Street, 4th Floor
27                                                           Albany, NY 12207
                                                             Telephone: (518) 434-0600
28                                                           Facsimile: (518) 434-0665
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 1                                                 piovieno@bsfllp.com
                                                   anardacci@bsfllp.com
 2
                                                   Liaison Counsel for the Direct Action Plaintiffs
 3
                                                   Mario N. Alioto (56433)
 4                                                 Lauren C. Capurro (241151)
                                                   TRUMP, ALIOTO, TRUMP & PRESCOTT,
 5                                                 LLP
                                                   2280 Union Street
 6                                                 San Francisco, CA 94123
                                                   Telephone: (415) 563-7200
 7                                                 Facsimile: (415) 346-0679
                                                   malioto@tatp.com
 8                                                 laurenrussell@tatp.com
 9                                                 Lead Counsel for Indirect Purchaser Plaintiffs
10                                                 Guido Saveri (22349)
                                                   R. Alexander Saveri (173102)
11                                                 Geoffrey C. Rushing (126910)
                                                   Travis L. Manfredi (281779)
12                                                 SAVERI & SAVERI, INC.
13                                                 706 Sansome Street
                                                   San Francisco, CA 94111
14                                                 Telephone: 415.217.6810
                                                   Fax: 415.217.6813
15
                                                   Interim Lead Counsel for the Direct Purchaser
16                                                 Plaintiffs
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